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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                           ORDER

       The court hereby orders the following with regard to the schedule of closing arguments in

the remedies-phase proceedings. Closing arguments shall be held on May 30, 2025, at 9:00 AM

in Courtroom 10. A public access line will be connected for the duration of the hearing, and

audience overflow and media access rooms will be designated in the courthouse.

       The closing arguments shall be structured as described below. Noted durations for

arguments are estimates.
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1.       Structure of Closing Arguments

         a.       Legal Standards (9:00 AM – 10:00 AM)

                  i.       Plaintiffs: 30 minutes 1

                  ii.      Google: 30 minutes

         b.       Data Sharing & Syndication Remedies (10:00 AM – 12:15 PM)

                  i.       Plaintiffs: 60 minutes

                  ii.      Break: 15 minutes

                  iii.     Google: 60 minutes

         c.       Lunch (12:15 PM – 1:15 PM)

         d.       Distribution Remedies (including Payment Bans & Choice Screens) (1:15 PM –
                  2:15 PM)

                  i.       Plaintiffs: 30 minutes

                  ii.      Google: 30 minutes

         e.       Chrome Divestiture & Contingent Remedies (2:15 PM – 3:30 PM)

                  i.       Plaintiffs: 30 minutes

                  ii.      Google: 30 minutes

                  iii.     Break: 15 minutes

         f.       Remaining Remedies & Term of Judgment (3:30 PM – 5:00 PM)2

                  i.       Plaintiffs: 45 minutes

                  ii.      Google: 45 minutes




1
  The United States and Colorado Plaintiff States may split their allotted time as they see fit and reserve time for
rebuttal.
2
  These include, inter alia, ad transparency and control remedies, publisher remedies, self-preferencing prohibitions,
the investment notification requirement, remedies related to administration and enforcement, and Colorado Plaintiff
States’ proposed Public Education Fund.


                                                          2
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2.    Additional Rules & Considerations

      a.     The parties may designate different attorneys to present argument for each of the
             aforementioned sections. The parties shall provide a list of counsel who will speak
             at the closing arguments, as well as their party affiliation, to chambers via email by
             May 29, 2025.

      b.     The court presumes the parties’ familiarity with the courtroom’s electronic
             presentation system, but if any party wishes to conduct a walk-through before the
             hearing, please contact chambers via email to schedule a time.

      c.     The court requests two hard copies of any electronic presentation.

      d.     The bench inside the well of the court and the first row in the gallery will be
             designated as reserved seating for each side.




Dated: May 23, 2025                                       Amit P. Mehta
                                                    United States District Judge




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